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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                  Holding a Criminal Term
                             Grand Jury Sworn in on May 7, 2019

UNITED STATES OF AMERICA
                                                     Grand Jury Original

                                                     Offenses:
ZI YU ZHENG,                                         l8 U.S.C. $ 371 (Conspiracy)
ALSO KNOWN AS "SAM,'                                 Count One

XIAO LING WEI, and                                   l8 U.S.C. $ 2320(a) (Trafficking in
                                                     Counterfeit Goods)
LING WU WEI,                                         Counts Two through Five
ALSO KNOWN AS "MIKE,"
                                                     Forfeiture Allegation
        Defendants.

                                           INDICTMENT

The Grand Jury Charges that:
At all times relevant to this Indictment

                                         COUNT ONE
                         (Conspiracl' to Traffic in Counterfeit Goods)

                                           Introduction

        l.     Defendant ZI YU ZHENG, also known as "Sam," was a resident of Maryland.

       2.      Defendant XIAO LING WEI was a resident of Maryland.

       3.      Defendant LING WU WEI, also known as "Mike," was a resident of Maryland.

       4.      The Guang Da Group was a retail store located at 1327 4th Street NE, Washinglon,

DC (hereinafter, the "RETAIL STORE') operated by the conspirators, which specialized, among

other things, in selling counterfeit luxury apparel and accessories. The RETAIL STORE was

operated by Guang Da Group Inc., a District of Columbia corporation.         ZI YU ZHENG was that



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company's registered agent,     Zl YU ZHENG        and XIAO LING WEI were that company's

govemors.

       5.        A   warehouse located at 1276 sth Street NE, Washington, DC (hereinafter, the

"WAREHOUSE") was another location operated by the conspirators that sold counterfeit luxury

apparel and accessories. The WAREHOUSE was operated by               M Trading Inc., a District of

Columbia corporation. LING WU WEI was the registered agent and governor for M Trading Inc.

       6.        CO-CONSPIRATOR 1 worked at the WAREHOUSE.

       7.        CS-l and CS-2 were confidential human         sources employed     by a   private

investigations   firm hired by the victim companies, as described further below, to      purchase

counterfeit merchandise from Zl ZU ZHENG, XIAO LING WEI, and LING WU WEI.

       8.        UNDERCOVER AGENT 1 was a Special Agent lor the United States Department

of Homeland Security, Homeland Security Investigations.

                                Trademarks and Their Protection

       9.        The United States Patent and Trademark Office ("USPTO") is an agency of the

United States Department of Commerce that provides for the examination and registration of

trademarks and the dissemination       of   trademark information. Through the registration of

trademarks, the USPTO assists businesses in protecting their investments, promoting goods and

services, and safeguarding consumers against confusion and deception in the marketplace. The

USPTO examines applications for trademark registration.         If   approved, the trademarks are

registered on either the Principal Register or the Supplemental Register, depending upon whether

the mark meets the appropriate distinctiveness criteria.

        10.      A trademark is a word, phrase, symbol or design, or combination thereof. used in

commerce    to identifr and distinguish the goods of one manufacturer or seller from        goods




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manufactured or sold by others, and to indicate the source ofthe goods. In short, a trademark is a

brand name.

                                              Victims

       I1.       The following companies (collectively, "the victims") designed, manufactured, and

distributed clothing, shoes, and accessories, and owned the following trademarks:

 Company                           U.S. Trademark           Description
                                   Registration No.

 Burberry Ltd.                     0863 179                 Equestrian knight togo


 Burbeny Ltd.                      1133122                  "Burberrv" word mark


 Burberry Ltd.                     2022789                  Red, brown, gray, black, and white plaid
                                                            pattem

 Burberry Ltd.                     25t2119                  Equestrian knight logo


 Burberry Ltd.                     3529814                  Red, brown, gray, black and white plaid
                                                            pattem
                                                        I



 Chanel, Inc.                      0626035                  "CHANEL" word mark


 Chanel, Inc.                      1311511                  "CC" word mark


 Chanel. Inc.                      1347677                  "CHANEL" word mark


 Chanel. Inc.                      l 501898                 "CC" word mark


 Chanel, Inc.                      tst0'757                 "Chanel" word mark


 Chanel, Inc.                      1733051                  "CHANEL" word mark


 Chanel, Inc.                      1731822                  "CC" word mark




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Company                    U.S. Trademark     Description
                           Registration No.

Chanel, Inc                3133 139           "Chanel" word mark


Gucci America, Inc         0959338            "Gucci" word mark


Gucci America. Inc         0972078            "Gucci" word mark


Gucci America, Inc.        1122780            Green, Red, Green stripe design


Gucci America, Inc.        11   58170         "GG" word mark


Gucci America. Inc.        I t68171           "Gucci" word mark


Gucci America, Inc.        3039629            "GG" word mark


Gucci America, Inc.        3376129            "GG" word mark


Gucci America. Inc         4379039            Green, Red, Green stripe design


Gucci America, Inc         4s63 132           "Gucci" word mark


Gucci America, Inc         4567107            "GG" word mark


Gucci America, Inc         45 83258           Repeating pattem     of   stylized letters
                                              ..GG"

Gucci America. Inc         5421749            Green, red, green stripe design


Louis Vuitton Malletier    r0459i2            "Louis Vuitton" word mark


Louis Vuitton Malletier    1794905            "LV" logo

Louis Vuitton Malletier    1990760            "l.ouis Vuitton" word mark




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Company                    U.S. Trademark      Description
                           Registration No.

Louis Vuitton Malletier    2361695             "LV" logo

Louis Vuitton Malletier    23 783 88           Damier design


Louis Vuitton Malletier    3t07072             Ddcor floral design


Louis Vuitton Malletier    3576404             Damier design


Louis Vuitton Malletier    4192s41             Ddcor floral design surrounding the
                                               letters "LV"

Louis Vuitton Malletier    45   3   0921       "Louis Vuitton" word mark


Louis Vuitton Malletier    46t4736             "LV" word mark


Michael Kors. L.L.C.       2s20757             "Michael Kors" word mark


Michael Kors. L.L.C.       3438412             "MK" Michael Kors word mark


Michael Kors, L.L.C        5365142             ''Michael Kors" word mark


Nike. Inc.                 1323342             "Swoosh" design


Nike, Inc.                 1742019             Basketball player silhouette design


PRL USA Holdings, Inc.     1508314             "Polo by Ralph Lauren" word mark


PRL USA Holdings. Inc.     3812741             Polo player on horse logo


Rolex Watch U.S.A., tnc    0101819             "ROLEX" word mark


Rolex Watch U.S.A., Inc.   1105602             "Oyster Perpetual" word mark




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 Company                             U.S. Trademark      Description
                                     Registration No.

 Rolex Watch U.S.A.. Inc.            06577 s6             "Crorm" design


 Rolex Watch U.S.A.. Inc             1782604             "Submariner" word mark


 'l'he North Face                    2097715             "The No(h Face" word mark


 Timberland                          1075061             Timberland "Maple Tree" design
                                 I




 Timberland                          13   00704          Timberland uord mark



        12.    The victims registered these trademarks on the principal register   oithe USPTO for

use on various products, such as clothing, jewetry, footwear, wallets, and handbags. These

registrations were in full force and effect at all times relevant and material to the Indictment. The

victims marked their products with these marks to distinguish them from their competitors'

products, to signify that the products came lrom a single source, to assure the public of their

quality, and to serye as a method to advertise and sell their products. At no time did any of the

victims aulhorize, ratify, or acquiesce to the use ofthese trademarks by the defendants, nor did any

other person having the power to do so.

        13.    Louis Vuitton Malletier, commonly referred to as "Louis Vuitton," is a corporation

organized under the laws ofFrance and headquartered in Paris, France. It is a consumer products

company engaged in the design, development, and marketing ofclothing, handbags, and accessory

products worldwide.

        14.    Gucci Group N.V., commonly refened to as "Gucci," is a public company

organized under the laws of Italy and headquartered in Florence, Italy. lt is a consumer products

company engaged in the design, development, and marketing ofapparel, footwear, and accessory


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products, such as belts and handbags, worldwide. The company's trademarks inthe United States

are owned and registered by Gucci America, Inc., which is a corporation organized under the laws

ofNew Jersey and headquartered in New York, New York.

        15.      Chanel S.A., commonly referred to as "Chanel," is a corporation organized under

the laws of France in Neuilly-sur-Seine, France. It is a consumer products company engaged in

the design, development, and marketing ofclothing, handbags, and accessory products worldwide.

The company's trademarks in the United States are owned and registered by Chanel, Inc., which

is a corporation organized under the laws of New York and headquartered in New York, New

York.

        16.      Michael Kors Holdings Ltd. is a company organized under the laws of the British

Virgin Islands and headquartered in London, United Kingdom. It is a consumer products company

engaged in the design, development, and marketing of clothing, handbags, and other accessory

products worldwide. The company's trademarks in the United States are owned and registered by

Michael Kors, L.L.C., a limited liability company organized under the laws of Delaware and

headquartered in New York, New York.

        17   .   Nike, Inc. is a corporation organized under the laws ol Oregon and headquartered

near Beaverton, Oregon. It is a consumer products company engaged in the design, development,

and marketing of footwear, apparel, equipment, and accessory products worldwide.

        18.      The North Face Apparel Corp., commonly known as "The North Face," is a

corporation organized under the laws of Delaware and headquartered in San Leandro, Califomia.

It is a consumer products     company engaged    in the design, development, and marketing of

outerwear, footwear, outdoors equipment, and accessory products worldwide.




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,         19.    Ralph Lauren Corporation is a corporation organized under the laws of Delaware

and headquartered in New York, New       York. It is a consumer products company   engaged in the

design development, and marketing ofapparel such as polo shirts, footwear, and accessories. The

company's trademarks in the United States are owned and registered by PRL USA Holdings, Inc.,

a corporation organized under the laws   of Delaware and headquartered in New York, New York.

          20.    Burberry Group plc is a public limited company organized under the laws of the

United Kingdom and headquartered in London, United Kingdom.            It is a consumer products
company engaged in the design, development, and marketing of clothing, such as outerwear,

apparel, and accessories, such as handbags and wallets, worldwide. The company's trademarks in

the United States are owned and registered by Burberry Ltd., a limited liability company organized

under the laws of the United Kingdom and headquartered in London, United Kingdom.

          21.    Timberland Company is a corporation organized under the laws of Delaware and

headquartered in Stratham, New Hampshire. It is a consumer products company engaged in the

design, development, and marking of footwear and apparel such as clothes, watches, and leather

goods worldwide.

          22.    Rolex SA, commonly known as "Rolex," is a company organized under the laws

of Switzerland and headquartered in Geneva, Switzerland. It is a consumer products company

engaged in the design, development, and marketing ofwatches. The company's trademarks in the

United States are owned by Rolex Watch U.S.A., Inc., a corporation organized under the laws of

New York and headquartered in New York, New York.

                                         The Conspiracy

          23.    From in or around December 2016, continuing through in or around December 4,

201 8,   within the District of Columbia and elsewhere, the del'endants, ZI YU ZHENG, XIAO LING



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WEI, and LINC WU WEI, and other co-conspirators known and unknown to the grand jury, did

untawf,rlly, knowingly, and intentionally combine, conspire, confederate, and agree with each

other and others, both known and unknown to the grand jury, to intentionally traffic and attempt

to traffic in clothing, including footwear, handbags, jewelry, and accessories, such as belts and

wallets, while knowingly using, on and in connection with such goods, counterfeit marks, that is,

spurious marks that were identical with, and substantially indistinguishable from, marks that were

registered for those goods on the principal register in the USPTO and were in use at the time, and

the use of which marks was likely to cause confusion, to cause mistake, and to deceive, in violation

of Title 18, United States Code, Section 2320(a).

                            The Purnose and Plan of the Cons D tra cv

       24.     It was the purpose of the conspiracy that the defendants and others would and did

unjustly enrich themselves in the trafficking ofclothing, shoes,jewelry, handbags, and accessories

bearing counterfeit marks without the knowledge and authorization ofthe companies that      (l)   had

spent substantial amounts of money in developing the quality of goods which bore the legitimate

marks and (2) had lawfully registered such marks with the USPTO.

                             Manner and Means of the Consniracv

       25.     It was part of the conspiracy that defendants ZI YU ZHENG, XIAO LING WEI,

and LING WU WEI and their co-conspirators would and did intentionally traffic in clothing,

handbags, footwear,   jewelry and accessories, such as belts and wallets, knowing that such items

bore counterleit marks that were virtually indistinguishable to the victims' legitimate marks

(hereinaft er, "counterfeit merchandise").

       26.     It was further part of the conspiracy that Zl YU ZHENG, XIAO LING WEI, and

LING WU WEI and their co-conspirators operated, or assisted in operating, the RETAIL STORE



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and WAREHOUSE in the District of Columbia from which the counterfeit merchandise was sold

As part of operating, or assisting in the operation of, those locations, ZI YU ZHENG, XIAO LING

WEI, and LING WU WEI displayed the counterf'eit merchandise for sale on racks and other means

of display. Customers could shop in both the RETAIL STORE and WAREHOUSE for                            the

counterfeit merchandise, and complete their purchases at a checkout area in either location.

       27   .        It was further part of the conspiracy that Zl YU ZHENG, XIAO LING WEI, and

LING WU WEI and their co-conspirators engaged in various security and counter-surveillance

measures    in an attempt to prevent law enforcement from purchasing counterfeit merchandise             at

the RETAIL STORE, or from gaining entry into the WAREHOUSE, or from otherwise

discovering that ZI YU ZHENG, XIAO LING WEI, and LING WU WEI and their co-conspirators

were selling counterfeit merchandise at the RETAIL STORE and WAREHOUSE. Those security

and counter-surveillance techniques included, among other things, the following:

                a.   Ensuring that only people the defendants and their co-conspirators knew obtained

                     entry into the WAREHOUSE;

                b.   Patting down customers, and asking those customers to tum off any cell phones,

                     prior to allowing those customers to enter the WAREHOUSE; and

                c.   Maintaining a secret showroom in the RETAIL STORE from which counterfeit

                     merchandise was sold and hiding that showroom behind a false emergency door.

       28.           It was a further part ofthe conspiracy that the conspirators maintained a file cabinet

at the WAREHOUSE fitled with logos trademarked by the victims that could be affixed to

merchandise, such as purses and wallets, sold at the RETAIL STORE and WAREHOUSE.




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 ,       29.      It was a further part of the conspiracy that defendants ZI YU ZHENG, XIAO LING

 WEI, and LING WU WEI would sell the counterfeit merchandise described above to the public

 for purposes of commercial advantage or pdvate financial gain.

                                               Overt Acts

         30.      In furtherance ofthe conspiracy and to effect the objects thereof, within the District

 of Columbia, defendants ZI YU ZHENG, XIAO LING WEI, and LING WU WEI, and their co-

 conspirators, committed at least one ofthe following overt acts:

                  a.     On or about January 9,              201   7,   defendant   XIAO LING WEI   sold

approximately $85 worth of counterfeit merchandise to CS-1, which CS-1 selected from a private

showroom in the back of the RETAIL STORE hidden behind a door disguised as an emergency

exit.   Following this transaction, defendant XIAO LING WEI told CS-1 to be careful outside

because there were police in the area.

                  b.     On or about January 9, 2017, LING WU WEI sold CS-l approximately

$195 in counterfeit merchandise at the WAREHOUSE. Before CS-1 entered the WAREHOUSE

to make the purchase, LING WU WEI patted down CS-l and insisted that CS-l tum offCS-l's

cellular phone.

                  c.     On or about January 27, 2017, defendant LING WU WEI sold CS-l

approximately $660 in counterfeit merchandise at the WAREHOUSE.

                  d.     On or about Iantary        27   ,   2017, defendant XIAO LING WEI sold

approximately $240 in counterfeit merchandise to CS-l at the RETAIL STORE.

                  e.     On or about March 9, 2017, defendant LING WU WEI sold CS-l

approximately $400 in counterfeit merchandise at the WAREHOUSE.




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 ,            f.         On or about March 9, 2017,          defendant   XIAO LING WF,l sold
approximately $200 in counterfeit merchandise to CS-l at the RETAIL STORE.

              g.         On or about March 25, 2017, defendant    ZI YU ZHENG sold approximately

$26 in counterfeit merchandise to the PI at the RETAIL STORE.

              h.         On or about July 26, 2017, defendant LING WU WEI sold approximately

$635 in counterfeit merchandise to CS-l and an undercover law enforcement agent ("UCA") at

the WAREHOUSE.

              i.         On or about Ju.ly 26, 201 7, defendant ZI YU ZHENG sold approximately

$135 in counterfeit merchandise to CS-1 at the RETAIL STORE.

              j.         On or about November 9, 2017, defendant LINC WU WEI and CO-

CONSPIRATOR        1   sold approximately $2250 in counterfeit merchandise at the WAREHOUSE to

CS-1 and UCA.

              k.         On November 9, 2017 , defendants ZI YU ZHENG and XIAO LING WEI

sold approximately $850 in counterfeit merchandise to UCA and CS-1 at the RETAIL STORE.

              l.         On or about August 29,       201   8,   defendant   LING WU WEI    sold

approximately $260 in counterfeit merchandise to CS-l at the WAREHOUSE. Before allowing

CS-l to enter the WAREHOUSE through a rear door, a conspirator photographed CS-l with          a

cellular phone and sent the photograph to another conspirator to verify that CS-l was authorized

to purchase counterfeit goods from the WAREHOUSE.

              m.         On or about September 14,2018, defendanr LING WU WEI sold CS-l

approximately $186 in counterfeit merchandise at the WAREHOUSE.




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                   n        On or about November 29, 2018. defendant XIAO LING WEI sold

approximately $300 in counterfeit merchandise to a second confidential source ("CS-2") hired by

Louis Vuitton and other victims.

                   o.       On or about November 29, 2018, defendant           XIAO LING WEI took CS-2 to

the WAREHOUSE to purchase designer handbags and wallets, and introduced CS-2 to CO-

CONSPIRATOR 1. XIAO LING WEI then assisted CS-2 in a tour oithe WAREHOUSE and in

selecting counterfeit designer goods           to purchase.   CO-CONSPIRATOR                I   eventually sold

approximately $923 in counterfeit merchandise to CS-2 at the WAREHOUSE.

                               (Conspiracy to Traffic in Counterfeit Goods,
                       in violation of Title 18, United States Code, Section 2320(a))


                                              COUNT TWO
                                    (Trafficking in Counterfeit Goods)

       3   1   .   The allegations set forth in paragraphs I through   3   0   ofthis Indictment are re-alleged

and incorporated by reference herein.

       32.         On or about July 26, 2017 , in the District of Columbia, defendant ZI YU ZHENG

intentionally trafficked and intended to traffic in goods, specifically apparel and accessories, by

selling such goods at the RETAIL STORE to CS-1, while knowingly using, on and in connection

with such goods, counterfeit marks, that is, spurious marks that were identical with,                      and

substantially indistinguishable from, the following registered trademarks:

 Company                            U.S. Trademark            Description
                                    Registration No.
 Louis Vuitton Malletier             1045932                  "LOUIS VUITTON" word mark


 Louis Vuitton Malletier            3107072                   Ddcor floral design




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 Company                             U.S. Trademark         Description
                                     Registration No.

 Louis Vuitton Malletier             4t92541                D6cor floral design surrounding the
                                                            letters "LV"

 Louis Vuitton Malletier             4614736                ''LV" word mark


 Michael Kors, L.L.C                 2520757                "Michael Kors" word mark


 Burberry Ltd                        1\33122                "Burberry" word mark


 Burberrv Ltd.                       2022789                Red, brown, gray, black, and white plaid
                                 I
                                                            pattem

 Burberry Ltd                        2512119                Equestrian knight logo


 Chanel, Inc.                         1734822               "CC" word mark



marks that were registered for those goods on the principal register in the USPTO and were in use

at the time, and the use   of which was tikely to cause confusion and mistake and to deceive.

                        (Trafficking in Counterfeit Goods, in violation of
                       Title 18, United States Code, Section 2320(a) and 2)


                                              COI]NT THRN,E
                                     (Trafficking in Counterfeit Goods)

       33.       The allegations set forth in paragraphs I through 30 ofthis Indictment are re-alleged

and incorporated by reference herein.

       34.       On or about November 9, 2017, in the District of Columbia, defendant    XIAO LING

WEI intentionally trafficked and intended to traffic in goods, specifically apparel and accessories,

by selling such goods at the RETAIL STORE ro CS-1 and UNDERCOVER AGENT 1, while

knowingly using, on and in connection with such goods, counterfeit marks, that is, spurious marks




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that were identical with, and substantially indistinguishable from, the following registered

trademarks:

 Company                       U.S. Trademark          Description
                               Registration No.

 Louis Vuitton Malletier       1045932                 "Louis Vuitton" word mark


 Louis Vuitton Malletier       1990760                 "Louis Vuitton u,ord mark


 Louis Vuitton Malletier       3576401                 Damier design


 Louis Vuitton Malletier       453092   i              "Louis Vuitton" word mark for          paper
                                                       packaging

 Louis Vuitton Malletier       4614736                 "LV" work mark for     paper packaging


 Michael Kors, L.L.C.          25207s7                 "Michael Kors" word mark


 Michael Kors. L.L.C           3138112                 ''MK" Michaet Kors word mark

 Chanel. Inc.                  1314511                 "CC" word mark


 Chanel. Inc.                  1734822                 "CC" word mark


 Gucci America, Inc.           4563132                 "Gucci" word mark



marks that were registered for those goods on the principal register in the USPTO and were in use

at the time, and the use of which was likely to cause confusion and mistake and to deceive.

                        (Trafficking in Counterfeit Goods, in violation of
                       Title 18, United States Code, Section 2320(a) and 2)




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                                          COUNT FOUR
                                (Trafficking in Counterfeit Goods)

       35.      The allegations set forth in paragraphs   1   through 30 ofthis Indictment are re-alleged

and incorporated by reference herein.

       36.      On or about July 26,2017 , in the District of Columbia, defendant LING WU WEI

intentionally trafficked and intended to traffic in goods, specifically apparel and accessories, by

selling such goods at the WAREHOUSE to CS-l and LINDERCOVER AGENT 1, while

knowingly using, or in connection with such goods, counterfeit marks, that is, spurious marks that

were identical with, and substantially indistinguishable from, the following registered trademarks:

 Company                        U.S. Trademark                Description
                                Registration No.

 Chanel, Inc.                   0626035                       "CHANEL" word mark


 Chanel, Inc.                   1314511                       "CC" word mark


 Chanel. Inc.                   1.347677                      "CI]ANEL" word mark


 Chanel, lnc.                   1501 898                      "CC" word mark


 Chanel, Inc.                   1734822                       "CC" word mark


 Chanel, Inc.                   173 3051                      "CHANEL" word mark


 Gucci America. Inc             095e338                       "Gucci" word mark


 Gucci America, Inc             r 158170                      "GG" word mark


 Gucci America, Inc.            3039629                       "GC" word mark


 Gucci Americ4 Inc.             4567107                       "GG" word mark



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 Company                         U.S. Trademark            Description
                                 Registration No.

 Gucci America, Inc.             45 83258                  Repeating pattem            of   stylized letters
                                                           *GG"

 Gucci America, Inc.             54217 49                  Green, red. green stripe


 Michael Kors, L.L.C.            2520757                   "Michael Kors" word mark


 Burberrv Ltd.                   0863179                   Equestrian knight logo


 Burberry Ltd.                   2022789                   Red, brown, gray, black, and white plaid
                                                           pattem

 Burbeny Ltd.                    2512119                   Equestrian knight logo


 PRL USA Holdings, Inc.          15083 14                  "Polo by Ralph Lauren" word mark


 PRL USA Holdings, Inc.          3812741                   Polo player on horse logo


 The Norlh Face                  2097715                   "The North Face" word mark



marks that were registered for those goods on the principal register in the USPTO and were in use

at the time, and the use   olwhich was likely to cause confusion and mistake and to deceive.

                        (Trafficking in Counterfeit Goods, in violation of
                       Title 18, United States Code, Section 2320(a) and 2)


                                            COUNT FIVE
                                 (Trafficking in Counterfeit Goods)

       37   .    The allegations set forth in paragraphs t through   3   0   ofthis Indictment are re-alleged

and incorporated by reference herein.

       38.       On or about November 9, 2017, in the District of Columbia, defendant LING WU

WEI intentionally trafficked and intended to traffic in goods, specifically apparel and accessories,


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by selling such goods at the WAREHOUSE to CS-l and UNDERCOVER AGENT 1, while

knowingly using, on and in connection with such goods, counterfeit marks, that is, spurious marks

that were identical with, and substantially indistinguishable from, the following registered

trademarks:

 Company                      U.S. Trademark              Description
                              Registration No.



 Chane[, Inc.                 062603s                     "CHANEL" word mark

 Chanel. Inc.                 1314511                     "CC" word mark


 Chanel, Inc                  1347677                     ''CHANEL" word mark


 Chanel, Inc.                 1   501 898                 ''CC" word mark


 Chanel, Inc.                 1734822                     "CC" word mark


 Chanel. Inc                  1733051                     ''CHANEL" word mark


 Chanel, Inc.                 3133139                     "CHANEL" word mark


 Gucci America. Inc.          0959338                     "Gucci" word mark


 Gucci America. Inc           I 158170                    "GG" word mark


 Gucci America, Inc           3039629                     "GG" word mark


 Gucci America. Inc.          4s832s8                     Repeating pattem    of   stylized letters
                                                          "GG"
                                                      I


 Burbeny Ltd                  0863 179                    Equestrian knight logo


 Burbeny Ltd.                2022789                      Red, brown, gray, black, and white plaid
                                                          pattem


                                                 l8
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Company                   U.S. Trademark          Description
                          Registration No,


Burberry Ltd.             2512119                 Equestrian knight logo


PRL USA Holdings, Inc     15083 14                "Polo by Ralph Lauren" word mark


PRL USA Holdings, Inc     i812741                 Polo player on horse logo


The North Face            20977),5                "The North Face" word mark


Louis Vuitton Malletier   1045932                 "LOUIS VUITTON" word mark


Louis Vuitton Malletier   3107072                 D6cor floral design


Louis Vuitton Malletier   4192541                 D6cor floral design surrounding the
                                                  letters "LV"


Louis Vuitton Malletier   4614736                 "LV" word mark

Nike, Inc.                t'742019                Basketball player silhouette design


Rolex Watch U.S.A., Inc   0l0 r 819               ''ROLEX" word mark


Rolex Watch U.S.A., Inc   r 105602                "Oyster Perpetual" word mark


Rolex Watch U.S.A., Inc   0657756                 "Crown" design


The North Face            2097t15                 "The North Face" word mark


Timberland                1075061                 Timberland "Maple Tree" design


Timberland                1300704                 Timberland word mark




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marks that were registered for those goods on the principal register in the USPTO and were in use

at the time, and the use of which was likely to cause confusion and mistake and to deceive.

                         (Trafficking in Counterfeit Goods, in violation of
                        Title 18, United States Code, Section 2320(a) and 2)


                                      FORFEITURE NOTICE

       1.       Upon conviction of any ofthe offenses alleged in Count One through Count Five

of this Indictment, the defendants shall forleit to the United States: (a) any article, the making or

trafficking of which is prohibited as set forth in the offenses alleged in Count One through Count

Five; (b) any property used, or intended to be used, in any manner or part to commit or facilitate

the commission of any of the offenses alleged in Count One through Count Five; and (c) any

property constituting or derived from any proceeds obtained directly or indirectly as a result ofthe

commission of any of the offenses alleged in Count One through Count Five, pursuant to Title 1 8,

United States Code, Section 2320(c), Title I 8, United States Code, Sections 2323(a) and (b). The

United States   will   also seek a forfeiture money judgment equal to the value of any property

constituting or derived from any proceeds obtained directly or indirectly as a result of the

commission ofany ofthe offenses alleged in Count One through Count Five.

       2.       If any of the property described above as being subject to forfeiture,          as a result   of

any act or omission ofthe defendants:

                a.       cannot be located upon the exercise ofdue diligence;

                b.       has been transferred or sold to, or deposited   with,   a   third party;

                c.       has been placed beyond the    jurisdiction ofthe Court;

                d.       has been substantially diminished   in value; or




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              e.      has been commingled    with other property that cannot be divided without

                      difficulty;

the defendants shall forfeit to the United States any other property of the defendants, up to the

value ofthe property described above, pursuant to Title 21, United States Code, Section 853(p).

 (Criminal Forfeiture, Title 18, United States Code, Sections 2320(c\,2323(a), and 2323(b);
                      and Title 21, United States Code, Section 853(p))

                                                    A TRUE BILL




                                                    FOREPERSON.




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     REY FOR THE
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                        STAI'ES IN
AND FOR THE DISTRICT OF COLUMBIA




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